











Opinion issued July 8, 2004











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01–04–00608–CV
____________

IN RE SAID NASR, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator Said Nasr has filed a petition for writ of mandamus complaining about
the trial court’s


 temporary orders.


  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Keyes and Bland.


